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                                 IN THE UNITED STATES DISTRICT COURT
                                FOR THE EASTERN DISTRICT OF MISSOURI
                                          EASTERN DIVISION

ANNA WILLIAMS,                                    )
                                                  )
                Plaintiff,                        )
                                                  )        Case No. __________________
vs.                                               )
                                                  )        St. Louis County Circuit Court
WAL-MART STORES EAST, L.P.                        )        Cause No. 20SL-CC06023
                                                  )
                Defendant.                        )

                                           NOTICE OF REMOVAL

         COMES NOW Defendant Wal-Mart Stores East, LP and hereby files its Notice of Removal Based

Upon Amount in Controversy, removing the above-entitled action to the United States District Court for

the Eastern District of Missouri, Eastern Division, pursuant to 28 U.S.C. §§ 1332, 1441(a) and 1446, and in

support of said Removal, state as follows:

         1.     The above-entitled action, originally filed in the Circuit Court of St. Louis County, State of

Missouri, is a civil action at law brought by the above-named Plaintiff against Defendant Wal-Mart Stores

East, LP to recover monetary damages stemming from alleged bodily injury.

         2.     According to Plaintiff’s Petition, at the time of the alleged incident Plaintiff was a resident

and citizen of the State of Missouri.

         3.     Defendant Wal-Mart Stores East, LP, was, at the time of the commencement of said action

and ever since, a foreign limited partnership organized and existing under the laws of the State of

Delaware, and maintaining its principal place of business in the State of Arkansas. The chief and principal

office and place of business of Defendant Wal-Mart Stores East, LP is not in the State of Missouri, and

Defendant Wal-Mart Stores East, LP is not a citizen or resident of the State of Missouri.

         4.     WSE Management, LLC, general partner, and WSE Investment, LLC, limited partner are

the sole partners comprising Wal-Mart Stores East, LP.
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        5.       WSE Management, LLC, at the time of the commencement of said action and ever since,

has been and still is a foreign limited liability company organized and existing under the laws of the state

of Delaware, with its chief and principal office and place of business in the State of Arkansas, and is not a

citizen or resident of the State of Missouri.

        6.       WSE Investment, LLC, at the time of the commencement of said action and ever since,

has been and still is a foreign limited liability company organized and existing under the laws of the state

of Delaware, with its chief and principal office and place of business in the State of Arkansas, and is not a

citizen or resident of the State of Missouri.

        7.       The sole member of both WSE Management, LLC and WSE Investment, LLC, at the time

of the commencement of said action and ever since, has been and still is Wal-Mart Stores East, Inc.

        8.       At the time of the commencement of said action and ever since, Wal-Mart Stores East,

Inc. has been and still is a foreign corporation incorporated and existing under the laws of the State of

Delaware with its principal place of business in the State of Arkansas, not having its chief and principal

office and place of business in the State of Missouri, and is not a citizen or resident of the State of Missouri.

        9.       As between Plaintiff and Wal-Mart Stores East, LP, the controversy in this action is wholly

between citizens of different States.

        10.      On June 1, 2021, in Plaintiff’s Answers to Defendant Wal-Mart Stores East, LP’s First

Interrogatories, Plaintiff stated that she is seeking One Million Dollars ($1,000,000.00) in damages.

        11.      Therefore, the amount in controversy in this matter, exclusive of interest and costs,

exceeds the sum or value of Seventy-Five Thousand Dollars ($75,000.00).

        12.      As such, this Court has original jurisdiction pursuant to 28 U.S.C. §1332 and is one which

may be removed to this Court pursuant to 28 U.S.C. §1441.

        16.      This Removal Notice is filed in this Court within thirty days of Wal-Mart receiving notice

of Plaintiff’s claimed damages.



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        17.      All pleadings and papers which have been filed in the state court action are attached to

this Notice of Removal as Exhibit A.

        WHEREFORE, Defendant Wal-Mart Stores East, LP prays this Honorable Court to accept

jurisdiction of said action.




                                           /s/ Edward W. Zeidler II
                                     ______________________________
                                          John P. Rahoy #41896MO
                                       Edward W. Zeidler II #56638MO
                                            BROWN & JAMES, P.C.
                               Attorney for Defendant Wal-Mart Stores East, LP
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                                                 (314) 421-3400
                                             (314) 421-3128 (Fax)
                                               jrahoy@bjpc.com
                                              ezeidler@bjpc.com

        The undersigned hereby certifies that the above and foregoing pleading was filed electronically
with the above-captioned Court, with notice of case activity to be generated and sent electronically by
the Clerk of said Court to: mylegalworld@sbcglobal.net, Robert H. Pedroli, Jr. Eric Ruttencutter, Pedroli
& Gauthier, LLC, Attorneys for Plaintiff, 130 S. Bemiston, Suite 300, Clayton, MO 63105-1911, this 24th day
of June, 2021. Pursuant to Rule 55.03(a), the undersigned further certifies that he signed an original of
this pleading and that an original of this pleading shall be maintained for a period not less than the
maximum allowable time to complete the appellate process.


                                         /s/ Edward W. Zeidler II
                                    ______________________________

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6/7/2021




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